Case 2:20-cv-08528-JVS-KES Document 40 Filed 11/18/21 Page 1 of 2 Page ID #:1099



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   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11    FRANCISCO GARCIA,                          Case No. 2:20-cv-08528-JVS-KES
  12                  Plaintiff,
  13          v.                                ORDER ACCEPTING FINAL REPORT
                                                 AND RECOMMENDATION OF U.S.
  14    LOS ANGELES COUNTY, et al.,                   MAGISTRATE JUDGE
  15                  Defendants.
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  18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and all the
  19   records and files herein, along with the Final Report and Recommendation of the
  20   United States Magistrate Judge. Further, the Court has engaged in a de novo
  21   review of those portions of the original Report and Recommendation (Dkt. 29) to
  22   which objections (Dkt. 37) have been made. The Court accepts the findings,
  23   conclusions, and recommendations of the United States Magistrate Judge.
  24         IT IS THEREFORE ORDERED that all of Plaintiff’s claims are dismissed
  25   without leave to amend except for his:
  26         a. Plaintiff’s Section 1983 First Amendment “right of access to courts”
  27               claim against Defendants Peralta and Yhamel based on confiscation and
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Case 2:20-cv-08528-JVS-KES Document 40 Filed 11/18/21 Page 2 of 2 Page ID #:1100



   1            destruction of legal papers; and
   2         b. His Bane Act claim against Defendants Peralta and Yhamel based upon
   3            the same.
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   6   DATED: November 18, 2021
   7                                        James V. Selna
                                            UNITED STATES DISTRICT JUDGE
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